 Case 2:07-cr-00895-TS Document 211 Filed 07/31/08 PageID.1084 Page 1 of 10




                IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                        CENTRAL DIVISION




 UNITED STATES OF AMERICA,
           Plaintiff,                                      MEMORANDUM DECISION AND
                                                           ORDER ON ADMISSIBILITY OF
                                                           CO-CONSPIRATOR STATEMENTS


                   vs.


 BRADLEY GRANT KITCHEN, et al.,                            Case No. 2:07-CR-895 TS
           Defendants.




       This matter comes before the Court subsequent to a James1 hearing held on July 8, 2008,

to address the admissibility, under Fed.R.Evid. 801(d)(2)(E), of alleged co-conspirator

statements. As discussed below, the Court finds that a conspiracy existed and that each of the

Defendants were members of the conspiracy.

                                         I. BACKGROUND

       Defendants are charged in a Superseding Indictment2 with violations of 18 U.S.C. § 1341

(Mail Fraud), 18 U.S.C. § 1343 (Wire Fraud), and 18 U.S.C. § 1349 (Conspiracy).

       The Court held a James hearing on July 8, 2008. At the hearing, the government called


       1
           United States v. James, 590 F.2d 575 (5th Cir.), cert. denied, 442 U.S. 917 (1979).
       2
           Docket No. 151.

                                                   1
 Case 2:07-cr-00895-TS Document 211 Filed 07/31/08 PageID.1085 Page 2 of 10




Investigator LeDoux to testify regarding the government’s investigation. In addition, the

government submitted a number of exhibits. Defendants were to submit their briefs on the issues

raised at the hearing by July 22, 2008, but have failed to do so. The Court will proceed to

determine these issues without the benefit of Defendants’ arguments.

                                      II. FINDINGS OF FACT

        For purposes of determining the admissibility of co-conspirator statements under Rule

801(d)(2)(E) only, the Court finds the following:

A.      IDENTIFICATION OF THE PARTIES

        Defendant Bolick was the owner of two entities known as Home Owners Group (“HOG”)

and Paragon Investment Group L.L.P. (“PIG”). Defendant Kitchen represented himself as a

managing member or partner of HOG and PIG. Defendant Clarke was a licensed real estate

agent. Defendant Cloward was a licensed Utah real estate appraiser working with Express

Appraisal. Defendants Garrett and Hadlock were escrow officers working for Precision Title

Company. Defendants participated in real estate transactions with HOG and PIG.

B.      THE SCHEME

        The basic scheme Defendants allegedly engaged in proceeded as follows: Defendants

engaged in “flip” transactions. A flip transaction is a transaction where a property is purchased

at one price and then quickly resold at a higher, inflated price. The first part of the flip

transaction involved HOG acquiring properties in the Provo River Bottoms area. In the second

part of the flip transaction, HOG would quickly sell those properties to straw buyers. HOG sold

the properties in the second half of the flip at a substantially higher rate than the properties had

been purchased in the first half of the flip.



                                                   2
 Case 2:07-cr-00895-TS Document 211 Filed 07/31/08 PageID.1086 Page 3 of 10




        As indicated, in the second half of the flip transaction, HOG sold the properties to straw

buyers. A straw buyer is one who gets paid for their participation in the transaction. The straw

buyers in the transactions at issue here were given various information to induce them to

participate in the transactions. The straw buyers were told that they would receive money,

ranging from $50,000 to $90,000, for participating in the transactions. Additionally, the straw

buyers were told that they would incur no out-of-pocket expense associated with the transaction.

        As part of the scheme, the straw buyers made false statements in their loan applications.

For example, the loan applications would inflate the straw buyer’s assets and income.

Additionally, the loan application would falsely indicate that the straw buyer intended to occupy

the home.

        In addition to false statements in loan applications, false representations were made to the

lenders that down payments had been received for the second part of the flip when, in fact, they

had not. Additionally, the closing of the purchases were structured in such a way that the first

half of the flip transaction would close after the second half of the flip. By doing this, the loan

from the second half of the flip was used to close both the first and second portions of the

transaction. As a result, the lender was providing financing for both transactions. This

information was not disclosed to the lenders.

C.      DEFENDANTS’ ROLES IN THE SCHEME

        Defendants Kitchen, Bolick, and Cloward acted as recruiters in the scheme. As

recruiters, Defendants Kitchen, Bolick, and Cloward sought out individuals to act as straw buyers

in the second part of the flip transaction. Additionally, the recruiters would coach the straw

buyers on what was necessary to make the false statements made in the loan application appear

true.

                                                  3
 Case 2:07-cr-00895-TS Document 211 Filed 07/31/08 PageID.1087 Page 4 of 10




       In addition to acting as a recruiter, Defendant Cloward acted as an appraiser with regard

to the transactions at issue.3 As the appraiser, Defendant Cloward prepared appraisals. Those

appraisals reflected a higher value than the value at which HOG had purchased the property. Part

of the appraisal report includes comparable sales. These are sales listed on the Multiple Listing

Service (“MLS”) which are similar in nature. As discussed below, Defendant Clakre made false

entries into the MLS that Defendant Cloward used in the appraisal reports in order to justify the

inflated appraisal amount. The inflated appraisal reports were then provided to the lenders.

Lenders require an appraisal report to give a value statement and use the appraisal in their

underwriting process. In addition, Defendant Cloward also acted as a buyer in another

transaction.

       Defendant Clarke acted as a real estate agent in relation to these transactions. In that role,

Defendant Clarke input false information into the MLS. That false information was then

absorbed into the appraisal reports in order to justify the higher value contained in the appraisal.

       Defendants Garrett and Hadlock acted as escrow officers, or closing officers, in relation

to some of the properties at issue. In these transactions, the escrow officer made false

representations to the lender that down payments had been made. The closing officer also

concealed that the transactions were closing backward. Additionally, the closing officer

concealed the fact that the lender would be funding both transactions. Finally, the closing officer

concealed that HOG did not have title to the property in question. In addition to acting as a

closing officer, Defendant Garrett also acted as a straw buyer.



       3
        Investigator LeDoux clarified at the James hearing that Defendant Cloward’s company
performed the appraisals and that Defendant Cloward performed some, but not all, of the
appraisals.

                                                  4
 Case 2:07-cr-00895-TS Document 211 Filed 07/31/08 PageID.1088 Page 5 of 10




       Each of these roles, that of recruiter, real estate agent, appraiser, and closing officer, were

critical in completing these transactions.

                                         III. DISCUSSION

A.     STANDARD

       Under Fed. R. Evid. 801(d)(2)(E), statements by co-conspirators are properly admissible

as non-hearsay at trial if the Court determines, by a preponderance of the evidence, that (1) a

conspiracy existed; (2) the declarant and the defendant were both members of the conspiracy;

and (3) the statements were made in the course of and in furtherance of the conspiracy.4 It is the

burden of the government to prove each of the elements by a preponderance of the evidence and

it is the trial court that determines admissibility.5 In deciding whether the prerequisites for

admission of the co-conspirator statements have been satisfied, the Court may consider the co-

conspirator statements sought to be admitted as evidence of the conspiracy.6 The Tenth Circuit

has held, however, that “there need . . . be some independent evidence linking the defendant to

the conspiracy.”7 “Such independent evidence may be sufficient even when it is not

‘substantial.’”8 The Tenth Circuit has defined “independent evidence” as “evidence other than

the proffered [co-conspirator] statements themselves.”9


       4
           United States v. Urena, 27 F.3d 1487, 1490 (10th Cir. 1994).
       5
       Bourjaily v. United States, 483 U.S. 171, 175-76 (1987); United States v. Owens, 70
F.3d 1118, 1123 (10th Cir. 1995).
       6
           United States v. Lopez-Gutierrez, 83 F.3d 1235, 1242 (10th Cir. 1996).
       7
           United States v. Martinez, 825 F.2d 1451, 1453 (10th Cir. 1987).
       8
           Lopez-Gutierrez, 83 F.3d at 1242.
       9
           Martinez, 825 F.2d at 1451.

                                                  5
 Case 2:07-cr-00895-TS Document 211 Filed 07/31/08 PageID.1089 Page 6 of 10




B.     ANALYSIS

       1.        Existence of a Conspiracy

       The first element the Court must consider is the existence of a conspiracy. “To prove

conspiracy, the government must show (1) two or more persons agreed to violate the law, (2) the

defendant knew the essential objectives of the conspiracy, (3) the defendant knowingly and

voluntarily participated in the conspiracy, and (4) the alleged coconspirators were

interdependent.”10

       “‘To prove an agreement, the government need not offer direct proof of an express

agreement on the part of the defendant. Instead the agreement may be informal and may be

inferred entirely from circumstantial evidence.’”11 However, it is not enough for the government

to show only mere association with conspirators known to be involved in the crime; casual

transactions between the defendant and conspirators known to be involved in the crime; or a

buyer-seller relationship between the defendant and a member of the conspiracy.12

       The government has presented sufficient evidence to show that there was an agreement

between Defendants to violate the law by engaging in the scheme set forth above. The evidence

presented by the government shows that Defendants engaged in a scheme whereby Defendants

Kitchen, Bolick, and Cloward recruited straw buyers to buy properties at inflated prices. The

straw buyers made false statements in their loan applications and false information was provided

to the lenders. Defendant Cloward created inflated appraisal reports that relied upon false MLS


       10
            United States v. Yehling, 456 F.3d 1236, 1240 (10th Cir. 2006).
       11
          United States v. Pulido-Jacobo, 377 F.3d 1124, 1129 (10th Cir. 2004) (quoting United
States v. Lang, 364 F.3d 1210, 1223 (10th Cir. 2004)).
       12
            United States v. Evans, 970 F.2d 663, 669 (10th Cir. 1992).

                                                  6
 Case 2:07-cr-00895-TS Document 211 Filed 07/31/08 PageID.1090 Page 7 of 10




information to justify the inflated prices. Defendant Clarke input the false information into the

MLS which was incorporated into the inflated appraisal reports to supported the inflated values.

Finally, Defendants Garrett and Hadlock, in their role as escrow officers, concealed various facts

from the lenders.

       “To prove knowledge of the essential objectives of a conspiracy, the government does not

have to show the defendant knew all the details or all the members of a conspiracy.”13 “Rather,

the government only needs to demonstrate the ‘defendant shared a common purpose or design

with his alleged coconspirators.’”14

       The government has presented sufficient evidence to show that Defendant knew of the

essential objectives of the conspiracy. This is evident not only from the communications

between the Defendants,15 but also statements made by the straw buyers16 and others17 as well as

the documentation surrounding the transactions.18

       “A defendant may be convicted of a conspiracy only if the government proves that the

defendant had knowledge of the conspiracy and voluntarily participated therein. A conspirator

need not know of the existence or identify of the other members of the conspiracy or the full

extent of the conspiracy, but he or she must have a general awareness of both the scope and the



       13
            Yehling, 456 F.3d at 1240.
       14
            Id. (quoting Evans, 970 F.2d at 669).
       15
            See James Exs. 15–21.
       16
            James Ex. 6.
       17
            James Ex. 5.
       18
            James Exs. 9–14.

                                                    7
 Case 2:07-cr-00895-TS Document 211 Filed 07/31/08 PageID.1091 Page 8 of 10




objective of the enterprise to be regarded as a coconspirator.”19

       For the reasons discussed above, the government has presented sufficient evidence to

show that Defendants knowingly and voluntarily took part in the conspiracy.

       “Interdependence exists when ‘each alleged coconspirator . . . depend[s] on the successful

operation of each ‘link’ in the chain to achieve the common goal.’”20 “In other words, each

coconspirator’s ‘actions must facilitate the endeavors of other alleged coconspirators or facilitate

the venture as a whole.’”21

       Here, the government has shown sufficient evidence of interdependence. As set forth

above, each Defendant played an individual role in accomplishing the scheme. Defendants

Kitchen, Bolick, and Cloward acted as recruiters. Defendant Cloward acted as an appraiser.

Defendant Clarke acted as the real estate agent. Defendants Garrett and Hadlock acted as escrow

officers. Each of these roles—that of recruiter, real estate agent, appraiser, and closing

officer—were critical in completing these transactions. Each role facilitated the endeavors of the

others and facilitated the venture as a whole.

       Based on the above, the government has shown, by a preponderance of the evidence, the

existence of a conspiracy between Bradley Kitchen, David Bolick, Steve Cloward, Ron Clarke,

Jeffery Garrett, and Rebecca Hadlock. The Court bases this conclusion on both the statements of

the co-conspirators and the other supporting independent evidence presented by the government.




       19
            Evans, 970 F.2d at 669–70 (internal quotation marks and citation omitted).
       20
         Yehling, 456 F.3d at 1241 (quoting United States v. Dickey, 736 F.2d 571, 582 (10th
Cir. 1984)).
       21
            Id. (quoting Evans, 970 F.2d at 670).

                                                    8
 Case 2:07-cr-00895-TS Document 211 Filed 07/31/08 PageID.1092 Page 9 of 10




       2.         Members of the Conspiracy

       The second element the Court must consider is whether the declarant and the defendant

were both members of the conspiracy. Based on the discussion set forth above, the Court finds

that the government has proven by a preponderance of the evidence that each Defendant was a

member of the conspiracy.

       3.         During the Course and in Furtherance of the Conspiracy

       Finally, the Court must consider whether the statements were made during the course and

in furtherance of the conspiracy. A statement is made during the course of a conspiracy if it is

made before the objectives of the conspiracy have either failed or been achieved.22 “Statements

by a conspirator are in furtherance of the conspiracy when they are ‘intended to promote the

conspiratorial objectives.’”23 Such promotion occurs through statements that explain events of

importance to the conspiracy in order to facilitate its operation, statements between co-

conspirators which provide reassurance, which serve to maintain trust and cohesiveness among

them, or which inform each other of the current status of the conspiracy, and statements of a co-

conspirator identifying a fellow co-conspirator.24 A statement need not further the attainment of

an agreement; it is enough that it further an object of the agreement.25




       22
            United States v. Perez, 989 F.2d 1574, 1579 (10th Cir. 1993).
       23
         United States v. Townley, 472 F.3d 1267, 1273 (10th Cir. 2007) (quoting United States
v. Reyes, 798 F.2d 380, 384 (10th Cir. 1986)).
       24
            Id.
       25
            United States v. Magleby, 420 F.3d 1136, 1145 (10th Cir. 2005).

                                                  9
Case 2:07-cr-00895-TS Document 211 Filed 07/31/08 PageID.1093 Page 10 of 10




        The Court is unable, at this time, to determine whether all of the statements the

government seeks to introduce26 were made during the course and in furtherance of the

conspiracy. Therefore, the Court will reserve this issue for trial and will rule upon the individual

statements as they arise in that setting.

                                            IV. CONCLUSION

        It is therefore

        ORDERED that Defendants’ Motions for James Hearing (Docket Nos. 39, 48, 50, 52, and

85) are GRANTED. As set forth above, the Court finds that a conspiracy existed and that each

of the Defendants were members of the conspiracy. It is further

        ORDERED that the time from the filing of the Motions through August 13, 2008, is

excluded from the computation of the Speedy Trial Act time pursuant to 18 U.S.C. §

3161(h)(1)(F) and (J).

        DATED July 31, 2008.

                                                BY THE COURT:


                                                _____________________________________
                                                TED STEWART
                                                United States District Judge




        26
             See James Ex. 1.

                                                  10
